     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.1 Page 1 of 13



       Joshua Swigart, Esq. (SBN: 225557)
 1
       josh@westcoastlitigation.com
 2     Kevin Lemieux, Esq (SBN: 225886)
       kevin@westcoastlitigation.com
 3
       HYDE AND SWIGART
 4     2221 Camino Del Rio South, Suite 101
       San Diego, CA 92108
 5
       Telephone: (619) 233-7770
 6     Facsimile: (619) 297-1022
 7
       [Other Attorneys of Record Listed on Signature Page]
 8
       Attorneys for Plaintiff
 9
10                              UNITED STATES DISTRICT COURT
11                           SOUTHERN DISTRICT OF CALIFORNIA
12                                                                            '17CV2074 JAH WVG
            Jonathan Shawn Bush,                                 Case No.:
13          Individually and on behalf of All                    CLASS ACTION
14          Others Similarly Situated,
15                                                               CLASS ACTION COMPLAINT
                                 Plaintiff,                      FOR DAMAGES AND
16                                                               INJUNCTIVE RELIEF
            v.                                                   PURSUANT TO THE
17
                                                                 TELEPHONE CONSUMER
18          InboundProspect, Inc., d/b/a                         PROTECTION ACT, 47 U.S.C. §
            Senior Mobility Care,                                227 ET SEQ.
19
20                               Defendants.                     Jury Trial Demanded
21
22
23
24                                            INTRODUCTION

25     1.        Jonathan Shawn Bush (referred to individually as “Mr. Bush” or “Plaintiff”),
26               brings this class action for damages, injunctive relief, and any other available
27               legal or equitable remedies, resulting from the illegal actions of
28               InboundProspect, Inc., d/b/a Senior Mobility Care (referred to as

        ______________________________________________________________________________________________________
                                                      - ! 1 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.2 Page 2 of 13



 1           “Defendants”), in negligently, knowingly, and/or willfully contacting Plaintiff
 2           on Plaintiff’s cellular telephone, in violation of the Telephone Consumer
 3           Protection Act, 47 U.S.C. § 227, et seq., (“TCPA”), thereby invading
 4           Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to
 5           himself and his own acts and experiences, and, as to all other matters, upon
 6           information and belief, including investigation conducted by his attorneys.
 7     2.    The TCPA was designed to prevent calls like the ones described within this
 8           complaint, and to protect the privacy of citizens like Plaintiff. “Voluminous
 9           consumer complaints about abuses of telephone technology – for example,
10           computerized calls dispatched to private homes – prompted Congress to pass
11           the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).
12     3.    In enacting the TCPA, Congress intended to give consumers a choice as to
13           how creditors and telemarketers may call them, and made specific findings
14           that “[t]echnologies that might allow consumers to avoid receiving such calls
15           are not universally available, are costly, are unlikely to be enforced, or place
16           an inordinate burden on the consumer.” TCPA, Pub.L. No. 102-243, § 11.
17           Toward this end, Congress found that:
18
                   Banning such automated or prerecorded telephone calls to the
19                 home, except when the receiving party consents to receiving the
20                 call or when such calls are necessary in an emergency situation
                   affecting the health and safety of the consumer, is the only
21                 effective means of protecting telephone consumers from this
22                 nuisance and privacy invasion.

23
              Id. at § 12; see also, Martin v. Leading Edge Recovery Solutions, LLC, 2012
24
              WL 3292838, at *4 (N.D. Ill. Aug. 10, 2012) (citing Congressional finding
25            on TCPA’s purpose).
26
       4.    Congress also specifically found that “the evidence presented to the Congress
27
             indicates that automated or prerecorded calls are a nuisance and an invasion
28

        ______________________________________________________________________________________________________
                                                      - ! 2 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.3 Page 3 of 13



 1           of privacy, regardless of the type of call […].” Id. At §§ 12-13. See also,
 2           Mims, 132 S. Ct. at 744.
 3     5.    As Judge Easterbrook of the Seventh Circuit explained in a TCPA case
 4           regarding calls to a non-debtor similar to this one:
 5
                   The Telephone Consumer Protection Act […] is well known for its
 6                 provisions limiting junk-fax transmissions. A less litigated part of
 7                 the Act curtails the use of automated dialers and prerecorded
                   messages to cell phones, whose subscribers often are billed by the
 8                 minute as soon as the call is answered – and routing a call to
 9                 voicemail counts as answering the call. An automated call to a
                   landline phone can be an annoyance; an automated call to a cell
10                 phone adds expense to annoyance.
11            Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
12
13                                    JURISDICTION AND VENUE
14     6.    Jurisdiction is proper under 47 U.S.C §227(b); Mims v. Arrow Fin. Servs.,
15           LLC, 132 S.Ct. 740 (2012), because Plaintiff alleges violations of federal law.
16     7.    Venue is proper in the United States District Court for the Southern District of
17           California pursuant to 18 U.S.C. § 1391(b) and 1441(a) because Plaintiff lives
18           and works in San Diego County, CA, and the events giving rise to Plaintiff’s
19           causes of action against Defendants occurred in the State of California within
20           the Southern District of California and Defendants conduct business in the
21           area of San Diego, California.
22
23                                                  PARTIES
24     8.    Plaintiff is, and at all times mentioned herein was, an individual citizen and
25           resident of the County of San Diego, in the State of California.                        Plaintiff
26           works in the County of San Diego, which was where he received the phone
27           call referred to below.
28

        ______________________________________________________________________________________________________
                                                      - ! 3 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.4 Page 4 of 13



 1     9.    Plaintiff is informed and believes, and thereon alleges, that InboundProspect,
 2           Inc. is, and at all times mentioned herein was, a Corporation registered in the
 3           state of California and headquartered in Newport Beach, CA, and at all times
 4           mentioned herein was, a corporation and a “person,” as defined by 47 U.S.C.
 5           § 153 (39).
 6     10.   Plaintiff is informed and believes, and thereon alleges, that InboundProspect,
 7           Inc. is doing business as (d.b.a.) Senior Mobility Care, and has registered
 8           Senior Mobility Care as its fictitious business name in the County of Orange.
 9     11.   Plaintiff is informed and believes, and thereon alleges, that at all relevant
10           times, Defendants conducted business in the State of California and in the
11           County of San Diego, and within this judicial district.
12
13                                      FACTUAL ALLEGATIONS

14     12.   At all times relevant, Plaintiff was a citizen of the State of California.
15           Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47
16           U.S.C § 153 (39).
17     13.   Defendants are, and at all times mentioned herein were, “persons” as defined
18           by 47 U.S.C. §153 (39).
19     14.   Sometime prior to July 1, 2016, Mr. Bush was assigned, and became the
20           owner of, a cellular telephone number from his wireless provider.
21     15.   On or about September 13, 2017, Mr. Bush received a telephone call on his
22           cellular telephone from Defendants, in which Defendants utilized an
23           automatic telephone dialing system (“ATDS”) as defined by 47 U.S.C. §
24           227(a)(1), using an “artificial or prerecorded voice” as prohibited by 47
25           U.S.C. § 227(b)(1)(A).
26     16.   Mr. Bush’s cellular telephone number is (San Diego area code (619)
27           XXX-5162).
28     17.   The September 13, 2017 call came from phone number (714) 968-5848.

        ______________________________________________________________________________________________________
                                                      - ! 4 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.5 Page 5 of 13



 1     18.   During this call from Defendants to Mr. Bush’s cellular telephone, Plaintiff
 2           answered his phone and heard a recorded message for Senior Mobility Care.
 3           He was then transferred to a human sales representative.
 4     19.   The sales representative informed Plaintiff that they offer free in-home
 5           consultations for the sale of walk-in bathtubs and massaging tubs for senior
 6           citizens.
 7     20.   Plaintiff told the sales representative that he had to consult with this wife and
 8           asked for a call back number. He was given a call back number of (545)
 9           342-6787.
10     21.   The ATDS used by Defendants has the capacity to store or produce telephone
11           numbers to be called, using a random or sequential number generator.
12     22.   The ATDS used by Defendants also has the capacity to, and does, call
13           telephone numbers from a list of databases of telephone numbers
14           automatically and without human intervention.
15     23.   The telephone number Defendants called was assigned to a cellular telephone
16           service for which Plaintiff incurred a charge for incoming calls pursuant to 47
17           U.S.C. § 227 (b)(1).
18     24.   Plaintiff at no time provided “prior express consent” for Defendants to place
19           telephone calls to Plaintiff’s cellular telephone with an artificial or
20           prerecorded voice utilizing an ATDS as proscribed under 47 U.S.C. § 227(b)
21           (1)(A).
22     25.   Plaintiff had not provided his cellular telephone number to Defendants.
23           Plaintiff was not a customer of Defendants.                  Plaintiff had no “established
24           business relationship” with Defendants, as defined by 47 U.S.C. § 227 (a)(2).
25     26.   These telephone calls made by Defendants or their agents were in violation of
26           47 U.S.C. § 227(b)(1).
27
28

        ______________________________________________________________________________________________________
                                                      - ! 5 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.6 Page 6 of 13



 1                                                STANDING

 2     27.     Standing is proper under Article III of the Constitution of the United States of
 3             America because Plaintiff’s claims state:
 4                a. a valid injury in fact;
 5                b.which is traceable to the conduct of Defendants;
 6                c. and is likely to be redressed by a favorable judicial decision.
 7             See, Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) at 6, and                           Lujan v.
 8             Defenders of Wildlife, 504 U.S. 555 at 560.
 9     28.     In order to meet the standard laid out in Spokeo and Lujan, Plaintiff must
10             clearly allege facts demonstrating all three prongs above.
11
12           A.The “Injury in Fact” Prong

13     29.     Plaintiff’s injury in fact must be both “concrete” and “particularized” in order

14             to satisfy the requirements of Article III of the Constitution, as laid out in

15             Spokeo (Id.).

16     30.     For an injury to be “concrete” it must be a de facto injury, meaning that it

17             actually exists. In the present case, Plaintiff was called on his cellular phone

18             by Defendants, who utilized an ATDS and/or a pre-recorded voice. Such calls

19             are a nuisance, an invasion of privacy, and an expense to Plaintiff. Soppet v.

20             Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of

21             these injuries are concrete and de facto.

22     31.     For an injury to be “particularized” means that the injury must “affect the

23             plaintiff in a personal and individual way.” Spokeo, Inc. v. Robins, 578 U.S.

24             ___ (2016) at 7. In the instant case, it was Plaintiff’s phone that was called

25             and it was plaintiff himself who answered the calls. It was Plaintiff’s personal

26             privacy and peace that was invaded by Defendant’s phone call using an

27             ATDS. Finally, Plaintiff alone is responsible to pay the bill on his cellular

28

        ______________________________________________________________________________________________________
                                                      - ! 6 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.7 Page 7 of 13



 1             phone. All of these injuries are particularized and specific to Plaintiff, and
 2             will be the same injuries suffered by each member of the putative class.
 3
 4           B. The “Traceable to the Conduct of Defendants” Prong
 5     32.     The second prong required to establish standing at the pleadings phase is that
 6             Plaintiff must allege facts to show that his injury is traceable to the conduct of
 7             Defendants(s).
 8     33.     In the instant case, this prong is met simply by the fact that the calls to
 9             plaintiff’s cellular phone were placed either, by Defendants directly, or by
10             Defendants’ agent at the direction of Defendants.
11
12           C. The “Injury is Likely to be Redressed by a Favorable Judicial Opinion”

13             Prong
       34.     The third prong to establish standing at the pleadings phase requires Plaintiff
14
               to allege facts to show that the injury is likely to be redressed by a favorable
15
               judicial opinion.
16
       35.     In the present case, Plaintiff’s Prayers for Relief include a request for
17
               damages for each call made by Defendants, as authorized by statute in 47
18
               U.S.C. § 227. The statutory damages were set by Congress and specifically
19
               redress the financial damages suffered by Plaintiff and the members of the
20
               putative class.
21
       36.     Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to restrain
22
               Defendants from the alleged abusive practices in the future. The award of
23
               monetary damages and the order for injunctive relief redress the injuries of
24
               the past, and prevent further injury in the future.
25
       37.     Because all standing requirements of Article III of the U.S. Constitution have
26
               been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016), Plaintiff
27
               has standing to sue Defendants on the stated claims.
28

        ______________________________________________________________________________________________________
                                                      - ! 7 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.8 Page 8 of 13



 1                                 CLASS ACTION ALLEGATIONS

 2     38.   Plaintiff brings this action on behalf of himself and on behalf of all others
 3           similarly situated (“the Class”).
 4     39.   Plaintiff represents, and is a member of, the Class, consisting of:
 5                a. All persons within the United States who had or have a number
 6                   assigned to a cellular telephone service, who received at least one call
 7                   using an ATDS and/or an artificial prerecorded voice from Defendants
 8                   InboundProspect, Inc., d/b/a Senior Mobility Care, between the date of
 9                   filing this action and the four years preceding, where such calls were
10                   placed for the marketing purposes, to non-customers of
11                   InboundProspect, Inc., d/b/a Senior Mobility Care, at the time of the

12                   calls.

13     40.   Defendants and their employees or agents are excluded from the Class.

14           Plaintiff does not know the number of members in the Class, but believes the

15           Class members number in the thousands, if not more.                         Thus, this matter

16           should be certified as a Class action to assist in the expeditious litigation of

17           this matter.

18     41.   Plaintiff and members of the Class were harmed by the acts of Defendants in

19           at least the following ways: Defendants illegally contacted Plaintiff and the

20           Class members via their cellular telephones thereby causing Plaintiff and the

21           Class members to incur certain cellular telephone charges or reduce cellular

22           telephone time for which Plaintiff and the Class members previously paid, by

23           having to retrieve or administer messages left by Defendants or their agents,

24           during those illegal calls, and invading the privacy of said Plaintiff and the

25           Class members. Plaintiff and the Class members were damaged thereby.

26     42.   This suit seeks only damages and injunctive relief for recovery of economic

27           injury on behalf of the Class and it expressly is not intended to request any

28           recovery for personal injury and claims related thereto. Plaintiff reserves the


        ______________________________________________________________________________________________________
                                                      - ! 8 of !13 -
     Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.9 Page 9 of 13



 1           right to expand the Class definition to seek recovery on behalf of additional
 2           persons as warranted as facts are learned in further investigation and
 3           discovery.
 4     43.   The joinder of the Class members is impractical and the disposition of their
 5           claims in the Class action will provide substantial benefits both to the parties
 6           and to the Court. The Class can be identified through Defendants’ records
 7           and/or Defendants’ agent’s records.
 8     44.   There is a well-defined community of interest in the questions of law and fact
 9           involved affecting the parties to be represented. The questions of law and fact
10           to the Class predominate over questions which may affect individual Class
11           members, including the following:
12                        i. Whether, within the four years prior to the filing of the
13                           Complaint, Defendants made any call(s) (other than a call made
14                           for emergency purposes or made with the prior express consent
15                           of the called party) to the Class members using any ATDS or an

16                           artificial or prerecorded voice to any telephone number assigned
                             to a cellular telephone service;
17
                          ii.Whether Defendants called non-customers of Defendants for
18
                             marketing purposes;
19
                          iii.Whether Plaintiff and the Class members were damaged thereby,
20
                             and the extent of damages for such violation(s); and
21
                          iv.Whether Defendants should be enjoined from engaging in such
22
                             conduct in the future.
23
       45.   As a person that received calls from Defendants in which Defendants used an
24
             ATDS or an artificial or prerecorded voice, without Plaintiff’s prior express
25
             consent, Plaintiff is asserting claims that are typical of the Class. Plaintiff will
26
             fairly and adequately represent and protect the interests of the Class in that
27
             Plaintiff has no interests antagonistic to any member of the Class.
28

        ______________________________________________________________________________________________________
                                                      - ! 9 of !13 -
 Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.10 Page 10 of 13



 1   46.   Plaintiff and the members of the Class have all suffered irreparable harm as a
 2         result of the Defendants’ unlawful and wrongful conduct.                       Absent a class
 3         action, the Class will continue to face the potential for irreparable harm. In
 4         addition, these violations of law will be allowed to proceed without remedy
 5         and Defendants will likely continue such illegal conduct. The size of Class
 6         member’s individual claims causes, few, if any, Class members to be able to
 7         afford to seek legal redress for the wrongs complained of herein.
 8   47.   Plaintiff has retained counsel experienced in handling class action claims and
 9         claims involving violations of the Telephone Consumer Protection Act.
10   48.   A class action is a superior method for the fair and efficient adjudication of
11         this controversy. Class-wide damages are essential to induce Defendants to
12         comply with federal and California law. The interest of Class members in
13         individually controlling the prosecution of separate claims against Defendants
14         is small because the maximum statutory damages in an individual action for
15         violation of privacy are minimal. Management of these claims is likely to
16         present significantly fewer difficulties than those that would be presented in
17         numerous individual claims.
18   49.   Defendants have acted on grounds generally applicable to the Class, thereby
19         making appropriate final injunctive relief and corresponding declaratory relief
20         with respect to the Class as a whole.
21
                        FIRST CAUSE OF ACTION:
22         NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
23                PROTECTION ACT 47 U.S.C. § 227 ET SEQ.

24   50.   Plaintiff incorporates by reference all of the above paragraphs of this
25         Complaint as though fully stated herein.
26   51.   The foregoing acts and omissions of Defendants constitute numerous and
27         multiple negligent violations of the TCPA, including but not limited to each
28         and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.

      ______________________________________________________________________________________________________
                                                    - !10 of ! 13 -
 Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.11 Page 11 of 13



 1   52.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et seq.,
 2          Plaintiff and the Class are entitled to an award of $500.00 in statutory
 3          damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 4   53.    Plaintiff and the Class are also entitled to and seek injunctive relief
 5          prohibiting such conduct in the future.
 6
                        SECOND CAUSE OF ACTION:
 7         KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
 8            CONSUMER PROTECTION ACT 47 U.S.C. § 227 ET SEQ.

 9   54.    Plaintiff incorporates by reference all of the above paragraphs of this
10          Complaint as though fully stated herein.
11   55.    The foregoing acts and omissions of Defendants constitute numerous and
12          multiple knowing and/or willful violations of the TCPA, including but not
13          limited to each and every one of the above-cited provisions of 47 U.S.C. §
14          227 et seq.
15   56.    As a result of Defendants’ knowing and/or willful violations of 47 U.S.C. §
16          227 et seq., Plaintiff and each of the Class are entitled to treble damages, as
17          provided by statute, up to $1,500.00, for each and every violation, pursuant to
18          47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
19   57.    Plaintiff and the Class are also entitled to and seek injunctive relief
20          prohibiting such conduct in the future.
21
                                        PRAYER FOR RELIEF
22
23   58.    Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and the
24          Class members the following relief against Defendants:
25
26           FIRST CAUSE OF ACTION FOR NEGLIGENT VIOLATION OF
                        THE TCPA, 47 U.S.C. § 227 ET SEQ.
27
28

      ______________________________________________________________________________________________________
                                                    - ! 11 of !13 -
 Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.12 Page 12 of 13



 1   59.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b)(1),
 2          Plaintiff seeks for himself and each Class member $500.00 in statutory
 3          damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 4   60.    Pursuant to 47        U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 5          conduct in the future.
 6   61.    Any other relief the Court may deem just and proper.
 7
           SECOND CAUSE OF ACTION FOR KNOWING AND/OR WILLFUL
 8                                VIOLATION
 9                   OF THE TCPA, 47 U.S.C. § 227 ET SEQ.

10   62.    As a result of Defendants’ willful and/or knowing violations of 47 U.S.C. §
11          227(b)(1), Plaintiff seeks for himself and each Class member treble damages,
12          as provided by statute, up to $1,500.00 for each and every violation, pursuant
13          to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
14   63.    Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
15          conduct in the future.
16   64.    Any other relief the Court may deem just and proper.
17
                                             TRIAL BY JURY
18
19   65.    Pursuant to the seventh amendment to the Constitution of the United States of
20          America, Plaintiff is entitled to, and demands, a trial by jury.
21
22   Respectfully submitted,
23   Date: October 6, 2017                                                HYDE & SWIGART
24
25                                                                    By: s/Kevin Lemieux
26                                                                        Kevin Lemieux
                                                                          Attorneys for Plaintiff
27
28

      ______________________________________________________________________________________________________
                                                    - !12 of ! 13 -
 Case 3:17-cv-02074-JAH-WVG Document 1 Filed 10/09/17 PageID.13 Page 13 of 13



 1
 2
 3
     Other Attorneys of Record, besides caption page:
 4
 5   Abbas Kazerounian, Esq. (SBN: 249203)
     ak@kazlg.com
 6   KAZEROUNI LAW GROUP, APC
 7   245 Fischer Avenue, Suite D1
     Costa Mesa, CA 92626
 8   Telephone: (800) 400-6808
 9   Facsimile: (800) 520-5523
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

      ______________________________________________________________________________________________________
                                                    - !13 of ! 13 -
